14 F.3d 602NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Keith BUTLER, Defendant-Appellant.
    No. 91-6243.
    United States Court of Appeals, Sixth Circuit.
    Dec. 8, 1993.
    
      1
      Before:  RYAN, BOGGS, and SUHRHEINRICH Circuit Judges.
    
    ORDER
    
      2
      One of the issues raised in this appeal is the refusal of the District Court to consider whether certain of defendant's prior convictions are constitutionally valid.  Our recent en banc decision in United States v. McGlocklin, No. 91-6121, --- F.3d ----, 1993 WL 356406 (6th Cir., Sept. 17, 1993) (en banc) requires that issue be addressed.  We vacate the judgment and remand that issue to the District Court for consideration in light of McGlocklin.1
    
    
      3
      Accordingly, it is so ORDERED.
    
    
      
        1
         On October 12, 1993, the Supreme Court granted certiorari in the case of  Custis v. United States, 988 F.2d 1355 (4th Cir.1993), cert. granted 62 U.S.L.W. 3272, No. 93-5209 (Oct. 12, 1993), an opinion relied upon by the plurality in McGlocklin
      
    
    